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IN THE UNITED S'I`ATES DISTRICT COUR.T
b`OR THE NDRTHERN DISTRIC'I` [)F ILLINOIS

EASTERN DIVISION
TERRY MAR'[`]N, _`)
Plaintil`i`, )
)
vs. )
) Case No.: 07 C 4991
J. QUlNN,, J.R. MASEY, J.A. KENNY, S.P. ) _
COZZO #I20, and the C|'l"r' OF CHlCAGO, ') Judge Ronald A. (.jttzn'lan
Dei`endants. ) _
') Maglstrate lodge Susan E. Cox

AG R'EED URDER OF DISMISSAL

This matter coming bet`ore the Conrt on the parties* Stipulation to Dismiss, the parties having
reached agreement to settle this ntatter, and the respective parties being represented by counsel,
plaintiff 'l`ERRY MARTIN,, by one ol`his attorneys, Blake llorwit:'. ot"Horwitz, Riehardson & l:iaker,
and defendants .lOSEPl-I QUINN, JAY MASEY, and the ClTY OF ('_TH[CAG()_. by one ol` their
attorneys, Terrence l\/l. Burns ot` l)ykema Ciossett PLLC, the parties having entered into a Release
and Settlement Agreement and having executed a Stipulation to Dismiss, and the Court being
otherwise fully advised in the premises_. hereby incorporates the terms of the Re|ease and Settlement
Agreement herein and further orders as follows:

Ali of the claims of plaintiff TERRY MAR"I`[N against def`endants, .IOSEPH QUINN_. JAY
MASEV, and the CITY OF Cl-llCA(_iU, are dismissed with prejudiee, in termination ot` this entire

action1 and with each side bearing their own costs and attorney t`ees in accordance with the terms ot`

the Re|ease and Sett|ement Agreement. z
ENTER.: y

lodge Ronald A. Guzman
Llr\ited States Distriet Judge

DA».~E._»:MY

Terrenee M. Burns Blake Horwitz

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